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 8

 9                       UNITED STATES DISTRICT COURT
10                NORTHERN DISTRICT OF CALIFORNIA
11

      UNITED STATES OF AMERICA,
            Plaintiff,                       CR-18-00290-WHO
      v.                                     [PROPOSED] ORDER TO RELEASE
                                             AND TRANSMIT SEALED
      ARMANDO DANIEL CALDERON,               DOCUMENTS
            Defendant.


12         GOOD CAUSE APPEARING, the motion to release and transmit
13   to appellate counsel sealed documents is granted.
14         IT IS HEREBY ORDERED that:
15      • within _7__ calendar days of this order, copies of the requested

16         sealed documents shall be transmitted to appellate counsel for

17         Mr. Calderon;

18      • the documents shall be kept under seal for all other purposes.

19

20   Dated: February 28, 2022               _____________________________
21                                            The Hon. WILLIAM ALSUP,
22                                             United States District Judge
23



               ORDER TO RELEASE SEALED DOCUMENTS
